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                                                                                          19-cr-40091-DDC-01

To:     Mr. Rich Federico
       Assistant Federal Public Defender
       District of Kansas
       117 SW 6th Avenue, Suite 200
       Topeka, Kansas 66603

Date of Report:                      April 30, 2020


Report and Analysis of Incendiaries, Explosives and associated Devices Expertise of the
Dctendam united States v. Jarrett Smith, 19-cr-40091-DDC (D.Kan)

I, Jerry Taylor, am an expert retained by the Federal Public Defender on Behalf of Jarrett
William Smith in the above captioned case. In my capacity as an expert in improvised
incendiaries, explosives and their associated devices,I reviewed the communications and
background of the defendant in this case. I submit this report to document my opinions
regarding his expertise or lack thereof. Below are my explanations why, in my opinion and
based upon my research, knowledge, skill, experience and training, Jarrett Smith has no actual
experience making explosives or incendiaries, nor any actual experience assembling incendiary
or explosive devices or weapons of mass destruction.

Summary of Qualifications: (my/u// resume i.s attached fo thi.s report)
I retired from the United States Treasury, Bureau of Alcohol, Tobacco and Firearms (BATF),
where I was worked as an Explosives Enforcement Officer (badge 0010) from November 1979
until January 2000. I Participated in thousands of investigations, examined evidence from well
over two thousand explosive incidents and testified over 350 times in local, state and federal
court. Several of my device determinations resulted in law enforcement favorable appellate
court decisions. Provided profiles of serial bombers to aid in their identification and
indictment. Rendered safe and or exploited several hundred -unexploded improvised explosive
or incendiary devices (lED, llD). Participated in over two hundred search warrants and the
subsequent destruction of thousands of pounds of homemade, commercial and military
explosives, precursor chemicals, ordnance and lEDs. Major cases wherein I was the lead
Explosives Enforcement Officer included the Oklahoma City bombing, the Randy Weaver case
(Idaho), the Waco (Koresch) investigation, Unabomber explosion scenes, and the John Orr Case
(a former Glendale, CA fire department investigator) serial arsonist investigation. During my
BATE career I received over 140 letters of commendation and was awarded the US Treasury
Medal of Valor.

 I entered the private sector in January 2000. My field of expertise involves manufacturing
explosives and incendiaries with precursor chemicals, associated lIDS and lEDs, explosions and
their effects, related investigations, court consulting and associated training. Provided expert
witness work for Umar the ``Christmas Day Bomber" case, Holmes case (Denver, CO theater
shooter) and several other high-profile cases. Provided contract work for the State Department
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and the Department of Defense, Office of Military Commissions. My Top Secret (Scl) security
clearance is still current but not active.

Additionally, and over a period of about ten years, , I provided contract or part time work for
the Institute of lntergovernmental Research (IIR). Per their request,I developed intensive
training courses involving explosives manufactured or acquired and used by terrorists,
associated terrorist explosive and or incendiary components, methods of deployment and
attacks, and officer safety courses in support of America's anti-terrorism efforts. These Justice
Department proactive courses were reviewed and approved prior to being presented to law
enforcement agencies throughout the United States and in other parts of the world as directed.
This included preparing and delivering home-made/covert explosives and terrorist modus
operandi presentations at the FBI Academy, International Police Course, Anti-Terrorism phase,
on a quarterly basis.

Finally, I am also a retired Naval Officer, where I advanced from E-1 (Seaman recruit) To Chief
Warrant Officer 4 (CW04). Trained as a Navy diver, Explosive Ordnance Disposal Technician
(EOD), parachutist (static and freefall), Vietnam advisor and small unit tactics operator. Military
positions included EOD and Vietnam warfare advisor/operator. Duties involved the
identification, recovery, placement, render safe and disposal of explosives and bombs including
booby traps. Trained foreign and American military forces and law enforcement personnel.
Awarded over 25 ribbons and medals for noteworthy service and valor to include two Bronze
stars (with V), Vietnam Cross of Gallantry (Brigade level for valor), Purple Heart, Navy
Commendation (with V) and several Navy Achievement medals (with V).

Information, Documents and Materials I reviewed and researched for this report:
    •    Charging documents, indictment complaint and affidavit in support of the complaint.
    •    18 U.S.C., para 842(p) and relevant definitions of Destructive Device (18 U.S.C.,
         921(a)(4), Explosive (18 U.S,C.,844ti), and Weapon of Mass Destruction (18 U.S.C.,
         2332a(c)(2).
    •    U.S. Army records of spc. Jarrett smith, FBI reports of smith's interviews with law
         enforcement, and FBI Tactical Intelligence Report summarizing the Bureau's assessment
         of Smith's capabilities, knowledge and intent.
     •   Conversations with smith's counsel concerning evidence relevant to my analysis.


 Below is my analysis as to the viability of certain explosive or incendiaries and their associated
 devices discussed by Mr. Smith


Thermite Device (Smith communications with CS on August 21, 2019): His thermite device is
 summed up by "Etch a Sketch provides aluminum powder. Find a source of rust and a means to
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get magnesium shavings. Put it in a cardboard tube, tape shut, attach fuse, ignite." ``is a
thermite bomb...no real blast, just a hot hot hot bright flame."
ln my actual experience, those making thermite used aluminum powder purchased from the
internet or easily sourced locally. On the internet, entire thermite kits of high-quality materials
and accurate directions are offered at reasonable costs. Finding, acquiring and then taking
apart an Etch a Sketch is difficult and very messy as the aluminum powder sticks to everything
and is easily airborne. This is never mentioned nor are important/mandatory percentages of
aluminum, rust tiron oxide) and magnesium shavings. As with most every formula to make
explosives or incendiaries, you must stay within certain parameters (ratio to fuels and
oxidizers). Just as important is that a common pyrotechnic fuse will not ignite thermite. What
is critical is the proper use/placement of a magnesium strip to permit ignition. Smith's
thermite device making description is not viable.

Radioactive Device (Smith communications with CS on August 21, 2019):
``smoke detectors have I believe Americium or Borium in them (radioactive). Could be used to

make a very crude radiation device."

The minute quantity of Americium is difficult to remove and far too many smoke detectors
would have to be disassembled to acquire a substantial amount of Americium (check with the
National Bomb Data Center and you will see that this has never been a viable method of making
a radioactive device). Borium is not radioactive but used in farrier work (borium rod).
Somewhere Smith read or heard of Bohrium (Bh/107), a radioactive man-made element used
primarily for scientific research and not readily available anywhere. Not knowing the
difference between borium and Bohrium without any additional factual information,
demonstrates no actual knowledge of radioactive devices.

Car Bomb (Smith communications with Undercover individual on September 20, 2019):
Asked by the confidential source (CS):" something that has enough power to take out a car and
anything inside .... stable easy/enough to take from ok to tx?" Smith's answer provides the CS
with a ridiculous ping-pong ball filled with Drano and pushed/forced into the vehicle's gasoline
filling tube. He states that among other items, a "drill tip" (maybe a drill bit?) wide enough to
 make a hole for a syringe. Then the syringe is be filled with Drano and that is to be put inside of
the ping-pong ball. Then the hole is to be closed using quick drying glue. Smith further states:
"...you have about 30 minutes before it eats through plan your move accordingly." There is

 more, but nothing stated to the CS will come close to: "take out a car and anything inside."
Then Smith states gasoline vapors will blow up the gas tank along with stating that even if there
 is no explosion, the fuel tank and engine will be permanently damaged, and the vehicle
 completely disabled. Most every gasoline filler hoses/tubes have one-way valves and forcing a
 ping-pong ball into a gasoline tank is not feasible. In actuality, there will NOT be an explosion
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and Drano does not adversely affect metal, plastic or rubber (most Drano containers are
plastic). This car bomb description has never been used or documented to destroy a car. This
Car Bomb is not remotely feasible.


Middle East Style Bomb (Smith communications with UC on September 20, 2019):
Smith: "...if big enough or connected to the right explosive can damage or destroy US military
vehicles. Most of the time it can obliterate civilian vehicles and people nearby." Smith goes on
to state that you will open the back of a phone and look for the connections to the vibrators
(and just what do they look like to anyone other than an experienced electronics person?).
Remove the vibrators and solder wires to the connections instead. This process can and often
does destroy circuitry unless done by an experienced person. Then take a straw and cut it into
7 or 8 pieces. Tape one end and fill the pieces with primer powder. Smith stated '`this is
making a blasting cap." There is no required discussion on what "primer powder' is called (type
of explosives, brand, etc.). The powder is to be "packed" in and the ``more dense" the better to
``detonate the main charge." Then insert the wires into the home-made blasting cap and test it

as it should sound like a firecracker or a pistol shot. This is followed by finding a containing
with the first type mentioned: ``PVC is good''. Pressure cookers are too." Then adding nails,
magnesium shaving. To finish, Smith states that the blasting cap should be connected to the
main charge and that you can "cut an area inside the main container for the phone to help
make the device inconspicuous.'' There is more rambling about device placement and about
cases where telemarketers have caused the bombs to prematurely detonate. Of course, the CS
states: ``This is incredible. Thank you."

Not surprising and because Smith doesn't even have a rudimentary knowledge of explosives or
making blasting caps, there is never any mention of what type or how much of a main charge is
required to ``obliterate a civilian vehicle." Even before that could possibly occur, the so-called
blasting caps will NOT function because just placing two wires in a primer charge (whatever
that may be) will do nothing. There MUST be a bridge wire that heats up to the ignition
temperature of the used primer explosives. To me it is somewhat apparent that Smith is
referring to smokeless or black powder as the primer charge because he states the need to
"pack'' it in to make it "more dense." As described, his home-made blasting cap positively

can't work and using smokeless or black powder as an ignition explosive will only work in the
 most sensitive of explosives. There also no mention of real Middle East favorite explosives such
 as TATP (extremely sensitive to fire, heat, etc.), HMTD or Ammonium Nitrate explosives (and
 others). Mentioning PVC as a container versus metal to destroy a vehicle is further evidence of
 Smith's absolute near zero knowledge of being an experienced lED/WMD manufacturer or user.
 And the part about cutting an area inside the main charge makes no sense and if the telephone
 is sealed inside of a metal container because the reception will most likely be insufficient to
 initiate the device. Historically in these devices, the cell phone would be concealed along with
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the container (bag, box, etc.). The information he provided is almost 100% useless without
additional accurate and detailed information.


Gas Grenade (Smith's communications with UC on September 20, 2019):
Smith states: if you want a cheap gas grenade, a bottle of medicinal alcohol and chlorine tablets
(for cleaning pools) will work. Drop the tablet inside the bottle and screw the lid shut quick.
Blows in 8-15 seconds...and leaves behind a cloud of toxic chlorine gas." This will work if a
plastic bottle is used. It is not a deadly weapon, but it can produce localized property damage
and injury if anyone is close by (within 20 feet maybe).


Incendiary/HE grenade (Smith communications with UC on September 20, 2019):
Smith states: "Tape a firecracker to a hairspray bottle or a bottle of spray paint." (maybe
referring to cans versus bottles?). `'You only need one for a good effect, but you get a HUGE
explosion and a good fire going if you tape 4 or 5 together. Simply ignite the firecracker and
throw the device. Hope you're fast on your feet; this one also gets loud." The CS states: "...an
awesome idea."

A "firecracker" is the smallest firework and they are legal in many states. Using a firecracker
has a good chance of working with hair spray, but countless youths/adolescent adults have
used an M80 type explosive device (5 to 10 times the perchlorate explosives) to affect an
explosion and fire. Taping 4 or5 ``firecrackers" together may or may not ignite more than the
first one lit as the first firecracker explosion will force the other firecrackers out and away. This
would be a viable lED if an exploding firecracker(s) breach the container.


Improvised Napalm (Smith post to Telegram channel on September 20, 2019):

Smith states that adding soap to gasoline will produce improvised napalm. This would have
been true in the sixties and early seventies (reference Army TM31-201-1, 0301. Napalm, a., b.,
c., and d.). Pure soap without additives will work. Back then, shavings from Ivory brand soap
was the primary type that could be used. Current research revealed that this brand is now
made in Vietnam and the formula now includes other additives as do most all types of soaps
(fragrance, creams, etc.). Improvised Napalm is discussed and illustrated throughout the
internet including via You Tube instructional videos. Not one of them mention the use of soap
because of additives. Instead , the use of styrofoam is widely demonstrated. Additionally,
 using soap requires the heating of the gasoline to melt and blend the pure soap into Napalm.
 Mr. Smith's information on making improvised napalm is not viable.


Conclusion:
After an in-depth review including research of all the instructions regarding the manufacturing
 of improvised explosives and incendiaries, and the assembly of explosive, incendiary and
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radioactive devices by Mr. Smith, it is my professional opinion that Jarrett Smith lacks the basic
knowledge to manufacture an explosive device or weapon of mass destruction and that he has
no real hands on experience in doing so. Nearly all his proffered expertise is either incorrect or
without sufficient detail to have anyone assemble a functioning explosive or incendiary device
or weapon of mass destruction.
